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UN!TED STATES OF AMER|CA,
P!aintiff,

VS.
CFt. NO. 05-20094-B

JOSEPH JORDAN,

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on July 25, 2005. At that time, counsel for the
defendant requested a continuance and a change ot plea setting.

The Court granted the request and set change_of_plea date for Tuesdav. AL_lgu_st_Q_l
2005 at 9:15 a.m., in Courtroom 1, 11th Floorof the Federa| Bui|ding, l\/lemphis, TN.

Time through August 12, 2005 Was previously excluded under 18 U.S.C. §
3161 (h)(B)(B)(iv) because the ends of justice served in allowing for additional time to
prepare outweigh the need for a spe$$dyA`Ti-% trial

lT |S SO ORDERED this _day of ,2005.

 

NlEL BREEN
UD STATES D|STR|CT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:05-CR-20094 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

Doris Holt-Randle

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Honorable J. Breen
US DISTRICT COURT

